                                                                                   Motion GRANTED.
                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                    NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )              NO . 3:11-00082
                                              )              JUDGE TRAUGER
                                              )
ALFRED COFFEY                                 )              FILED UNDER SEAL
                                                             xxxxxxxxxxxxxxxxxxx


              UNITED STATES’ MOTION TO RE-SCHEDULE SENTENCING

        Comes now the United States and requests the sentencing hearing in this case be

re-scheduled from 1:30 p.m. on October 30, 2013 to 2:00 p.m. the same day. Defense counsel,

Dwight Scott, has authorized the undersigned to report that he has no objection to this request.

This request is due to the undersigned having another sentencing which is set to begin at 1:30 p.m.

on October 30, 2013 in Judge Sharp’s court.

                                                      Respectfully submitted,

                                                      DAVID RIVERA
                                                      ACTING UNITED STATES ATTORNEY

                                                      By:s/ Sunny A.M. Koshy
                                                            Sunny A.M. Koshy
                                                            Assistant United States Attorney

                                      CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served on Dwight Scott, counsel for defendant
Alfred Coffey, through the Court’s electronic filing system on October 28, 2013.

                                                      s/ Sunny A.M. Koshy
                                                      Sunny A.M. Koshy


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